59 F.3d 176w
    76 A.F.T.R.2d 95-5617
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America; Blake Olson, Revenue Agent of theInternal Revenue Service, Petitioners-Appellees,v.Ronald L. BODWELL, Respondent-Appellant.
    No. 95-15987.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 27, 1995.*Decided June 28, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    